Filed 01/14/16                                           Case 15-14228                                                      Doc 55



                 1   Michael H. Meyer, Esq. #82336
                     Chapter 13 Trustee
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                 5   Tel (559) 275-9512
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                 6                          UNITED STATES BANKRUPTCY COURT
                                             EASTERN DISTRICT OF CALIFORNIA
                 7

                 8
                     In re:                                                   )   Case No.: 15-14228-B-13F
                 9                                                            )
                     Oscar Gutierrez                                          )   DC NO. MHM-1
             10
                                                                              )
                                                                              )   CHAPTER 13
             11
                                                                              )
                                                  Debtor.                     )   PROOF OF SERVICE
             12
                                                                              )
                                                                              )   DATE: January 28, 2016
             13
                                                                              )   TIME: 1:30 PM
                                                                              )
             14
                                                                              )   PLACE: U.S. Courthouse
                                                                              )          5th Floor
             15
                                                                              )          2500 Tulare Street
                                                                              )          Fresno, Ca 93721
             16
                                                                              )
                                                                              )   JUDGE: Hon. Rene Lastreto II
             17
                     STATE OF CALIFORNIA, COUNTY OF FRESNO
             18
                            I am employed in the County of Fresno, State of California. I am over the age of eighteen
             19
                     years and not a party to the within action. My business address is P.O. Box 28950, Fresno,
             20      California 93729-8950.
                            On the date below I served the following documents described as: WITHDRAWAL OF
             21      CHAPTER 13 TRUSTEE’S MOTION FOR ORDER OF DISMISSAL PURSUANT TO 11
                     U.S.C. §1307 and PROOF OF SERVICE.
             22
                              I served the above documents on the interested parties by placing a true and correct copy thereof
             23      in a sealed envelope with the Trusteeship’s mail room personnel for affixing a fully prepaid postage and
                     mailing in the United States mail at Fresno, California in accordance with Trusteeship’s ordinary
             24      practices, addressed as set forth below:

             25
                       On the Debtor’s attorney as follows:                 Debtor:
                       Glen E Gates                                         Oscar Gutierrez
             26        Pascuzzi Pascuzzi & Stoker                           211 Center Street
                       2377 W Shaw Ave Ste 101                              Orange Cove, Ca 93646
             27        Fresno, Ca 93711
                            I declare under penalty of perjury that the foregoing is true and correct to the best of my
             28      knowledge and belief. This declaration was executed on January 14, 2016 Fresno, California.
                                                                      /s/ Elizabeth Clark
                                                                      Elizabeth Clark


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